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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RILEY GAINES, et al.,                        )
                                             )
                       Plaintiffs,           )
                                             ) Case No. 1:24-cv-01109-MHC
               v.                            )
                                             )
NATIONAL COLLEGIATE ATHLETIC                 )
ASSOCIATION, et al.,                         )
                                             )
                       Defendants.

   DEFENDANT NCAA’S MEMORANDUM OF LAW IN SUPPORT OF
    MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

      Plaintiffs previously filed a 155-page, 637-paragraph Complaint (Dkt. 1),

which the NCAA moved to dismiss (Dkt. 55). In response, Plaintiffs filed an even

longer Amended Complaint (Dkt. 64) that still suffers from the same fatal problems.

      The Supreme Court has held that the NCAA is not covered by Title IX. NCAA

v. Smith, 525 U.S. 459 (1999) (Smith I). The Supreme Court has also held that the

NCAA is not a state actor that can be sued under Section 1983. NCAA v. Tarkanian,

488 U.S. 179 (1988). Despite those binding precedents from our Nation’s highest

court, Plaintiffs have sued the NCAA for alleged violations of those laws (Title IX

[Counts I and V] and Section 1983 [Counts II, III, and IV]), and they do so with a

pleading filed by a group of Plaintiffs who lack standing to assert claims for
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prospective injunctive relief. The Court should dismiss the claims against the NCAA

with prejudice.

I.    The Court Should Dismiss the Title IX Claims Against the NCAA

      A.     Plaintiffs Do Not Sufficiently Allege That the NCAA Receives
             Federal Financial Assistance

      Counts I and V of the Amended Complaint purport to assert causes of action

against the NCAA for alleged Title IX violations. To fit under Title IX, a plaintiff

must allege “(1) that she was excluded from participation in, denied benefits of, or

subjected to discrimination in an educational program; (2) that the exclusion was on

the basis of sex; and (3) that the defendant receives federal financial assistance.”

Riddle v. Orange Cnty. Sch. Bd., No. 6:19-cv-771-Orl-22LRH, 2019 U.S. Dist.

LEXIS 249520, at *6-7 (M.D. Fla. July 2, 2019) (citation omitted); accord Seamons

v. Snow, 84 F.3d 1226, 1232 (10th Cir. 1996). Plaintiffs have not met that third

required prong.1 Twenty-five years ago, the Supreme Court held that a college

athlete could not sue the NCAA under Title IX merely because it receives dues

payments from colleges. See Smith I, 525 U.S. at 462. Since then, no court has

applied Title IX to the NCAA because its member institutions receive federal

funding. See, e.g., Sharp v. Kean Univ., 153 F. Supp. 3d 669, 674 (D.N.J. 2015)

(dismissing Title IX claims because “there is no allegation that the NCAA has


1
 Plaintiffs also cannot meet the first or second prongs, but it is not necessary to argue
those points in this Motion.

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received Federal financial assistance such that it would be subject to suit under

Title IX”).

      Plaintiffs’ apparent attempt to surmount that legal roadblock fails because

they do not present sufficient allegations that the NCAA is a recipient of federal

funding. Plaintiffs offer only a legal conclusion: that “from at least 2014 through the

present the NCAA has been a direct and/or indirect recipient and beneficiary of

financial assistance from the U.S. federal government.” Am. Compl. ¶ 170. But

“plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

more than labels and conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (citation omitted); see also Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)

(“[T]he tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions,” which simply “are not entitled to

[an] assumption of truth.”). Plaintiffs here fail to allege “enough facts to state a claim

to relief that is plausible on its face.” Twombly, 550 U.S. at 570. They fail to show

“facial plausibility” because they do not “plead[] factual content that allows the court

to draw the reasonable inference” that the NCAA receives federal assistance. Iqbal,

556 U.S. at 678 (citing Twombly, 550 U.S. at 556); see also Jackson v. BellSouth

Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004) (explaining that “[c]onclusory

allegations, unwarranted deductions of facts or legal conclusions masquerading as

facts will not prevent dismissal” (quotation marks and citation omitted)).



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      Plaintiffs attempt to base their legal conclusion of federal funding on

allegations that “[s]tarting in 2014, the NCAA and the U.S. Department of Defense

(DoD) entered into a ‘partnership’” to study concussions. Am. Compl. ¶ 159; see

also Am. Compl. ¶ 170 (containing similar conclusory allegation that the NCAA

received federal funding tied to this “Grand Alliance”). But Plaintiffs never allege

any facts to show that the NCAA itself received DoD money or any other federal

funds. Instead, the only reasonable inference from the specific facts Plaintiffs allege

is that the concussion research project described in ¶¶ 160-169 of the Amended

Complaint is a separate research entity funded by both the DoD and the NCAA.

Plaintiffs specifically and repeatedly allege that. They factually allege that “The

NCAA-U.S. Department of Defense Concussion Assessment, Research and

Education Consortium” is a “project, funded by NCAA and DoD.” Id. at ¶ 165

(emphasis added).2 They describe “[t]he research funded by the NCAA and the

federal government through the NCAA-DoD Grand Alliance.” Id. at ¶ 167

(emphasis added). They quote President Obama that “[t]he NCAA and the

Department of Defense are teaming up to commit $30 million for concussion

education and a study involving up to 37,000 college athletes which will be the most

2
  The Amended Complaint at paragraph 167 provides a link to an article asserting
“[t]he Concussion Assessment, Research and Education Consortium, known as the
CARE consortium, is a major concussion/TBI research study supported by the DOD
and the National Collegiate Athletic Association, as a part of the DOD-NCAA
Grand Alliance.” See Exhibit B (emphasis added).

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comprehensive concussion study ever.” Id. at ¶ 160 (first emphasis added; second

italics in Amended Complaint).

      Plaintiffs also describe “The NCAA-DOD Grand Alliance and the millions in

federal dollars contributed to the project.” Id. at ¶ 168 (emphasis added); see also

id. at ¶ 165 (describing project with “additional funding from the NCAA and DoD”)

(emphasis added). They assert “that more than $105 million had been given to the

Grand Alliance concussion education and study program” and that “[a]t least $85

million in funding for the NCAA-DoD Grand Alliance has come from the federal

government.” Id. at ¶¶ 162-63 (emphasis added). But Plaintiffs do not expressly

allege that any federal DoD dollars are received by the NCAA because there is no

good faith basis for Plaintiffs to make that allegation. Without any factual averment

to support an allegation that “the DoD provides the NCAA funding” (id. at ¶ 159),

Plaintiffs’ unsupported legal conclusions that the NCAA receives federal financial

assistance because of that program are entitled to no weight. The Court should

therefore dismiss the Title IX claims against the NCAA.

      B.     Plaintiffs’ Alternative Ceding Control Theory Has Been Rejected

      Unable to assert facts that the NCAA receives federal assistance, Plaintiffs

may be trying an alternative path to Title IX application using a vague, general

allegation that The NCAA’s Transgender Eligibility Policies are collegiate sport

eligibility rules over which NCAA member institutions have given the NCAA



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“control,” Am. Compl. ¶ 173, and that members have given the NCAA control over

competition rules and championship events. Id. ¶ 131. But that attempt also fails as

a matter of law. No court has ever applied Title IX to the NCAA under a “ceding

control” theory, and the Third Circuit has rejected that argument twice.

      In Smith v. NCAA, 266 F.3d 152 (3d Cir. 2001) (Smith II), the Third Circuit

directly addressed and closed as a matter of law the ceding-control issue that

Plaintiffs here describe as having been “left open” by the Supreme Court in Smith I

Compl. ¶ 44. Like Plaintiffs here, the Smith II plaintiffs grounded their ceding-

control theory on the allegation “that the NCAA exercised controlling authority over

its federally-funded member institutions because it had the power to establish rules

governing intercollegiate athletics at member schools.” 266 F.3d at 157. Smith II

granted the NCAA’s motion to dismiss because “[t]he fact that the institutions make

. . . decisions cognizant of NCAA sanctions does not mean the NCAA controls

them.” Id. at 156 (quoting Cureton v. NCAA, 198 F.3d 107, 116 (3d Cir. 1999)).

      Smith II relied on that court’s Cureton decision granting summary judgment

to the NCAA and holding as a matter of law “that the NCAA[’s] members have not

ceded controlling authority to the NCAA by giving it the power to enforce its




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eligibility rules directly against the students.” 198 F.3d at 117-18.3 Cureton

specifically rejected the argument that Plaintiffs appear to be making here:

             [W]e cannot understand how the fact that the NCAA
             promulgates rules and regulations with respect to
             intercollegiate athletics somehow means that the NCAA
             has controlling authority over its members’ programs or
             activities receiving Federal financial assistance. After all,
             the institutions decide what applicants to admit, what
             employees to hire, and what facilities to acquire.

Id. at 118. Cureton relied on the Supreme Court’s holding in Tarkanian “that the

NCAA does not ‘control’ its members.” Id. at 117 (citing 488 U.S. at 192). Cureton

also relied on the NCAA constitution, which “expressly provides for the retention of

institutional control over individual athletic programs.” Id. at 118.

      In short, Plaintiffs have not—and cannot—assert a claim against the NCAA

under Title IX, and the Court should dismiss the Title IX claims with prejudice.

II.   The Court Should Dismiss the Section 1983 Claims Against the NCAA

      A.     The NCAA Is Not a State Actor Subject to Section 1983 Liability

      Counts II, III, and IV of the Amended Complaint purport to assert claims

against the NCAA under Section 1983, but Plaintiffs’ allegations do not meet the

requirement of 42 U.S.C. § 1983 to show that the NCAA’s alleged conduct was

committed by a state actor acting under color of state law. See Harvey v. Harvey,



3
 Although Cureton applied Title VI, rather than Title IX, the Third Circuit held that
“the statutes are essentially similar.” 198 F.3d at 117.

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949 F.2d 1127, 1130 (11th Cir. 1992) (citing Flagg Bros. v. Brooks, 436 U.S. 149,

156-57 (1978)). Plaintiffs do not show that the NCAA acted with “power ‘possessed

by virtue of state law and made possible only because the wrongdoer is clothed with

the authority of state law.’” West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United

States v. Classic, 313 U.S. 299, 326 (1941)). That failure is fatal because “the under-

color-of-state-law element of § 1983 excludes from its reach merely private conduct,

no matter how discriminatory or wrongful.” Focus on the Fam. v. Pinellas Suncoast

Transit Auth., 344 F.3d 1263, 1277 (11th Cir. 2003) (citation omitted).

      Plaintiffs’ allegations that the state university defendants acted in accordance

with NCAA policies are not sufficient to turn the NCAA into a state actor under

Section 1983. The Supreme Court so held in Tarkanian when it rejected the

argument that a Nevada state university clothed the NCAA with state authority by

delegating its own functions to the NCAA. 488 U.S. at 192. Tarkanian held the

NCAA was not a Nevada state actor because Nevada state law was not the source of

the NCAA’s rulemaking. Id. Instead, the NCAA’s rules arose from and were

enforced by the NCAA’s several hundred member institutions most of which were

in other states, and thus the NCAA did not act under color of Nevada law or any

other state’s law. Id.

      The Supreme Court concluded that “[n]either [the university’s] decision to

adopt the NCAA’s standards nor its minor role in their formulation is a sufficient



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reason for concluding that the NCAA was acting under color of Nevada law when it

promulgated standards governing athlete recruitment, eligibility, and academic

performance.” Id. at 195; see also Brentwood Acad. v. Tenn. Secondary Sch. Athletic

Ass’n, 531 U.S. 288, 297-98 (2001) (reiterating Tarkanian’s holding that the

NCAA’s “connection with [the state is] too insubstantial to ground a state-action

claim” because “the NCAA’s policies were shaped not by the [university] alone, but

by several hundred member institutions, most of them having no connection with

[the state], and exhibiting no color of [state] law”); Collier v. Nat’l Collegiate

Athletic Ass’n, 783 F. Supp. 1576, 1578 (D.R.I. 1992) (ruling the NCAA was not a

state actor). Under Tarkanian, the Georgia state university Defendants’ conduct in

compliance with NCAA policies is insufficient to convert the NCAA into a state

actor, and for that reason alone, the Court should dismiss Counts II, III, and IV.

      B.     Plaintiffs’ Allegations Are Insufficient to Justify a Section 1983
             Claim Against the NCAA

      Nor do Plaintiffs’ conclusory allegations that the state defendants were “joint

participants” with the NCAA permit Plaintiffs to pursue Section 1983 claims against

the NCAA. The Eleventh Circuit has made clear that “[o]nly in rare circumstances

can a private party be viewed as a ‘state actor’ for section 1983 purposes.” Harvey,

949 F.2d at 1130. This is not one of those rare cases. Plaintiffs’ threadbare

allegations do not meet any of the three tests for conduct by a private party to be

considered state action: (1) the “state compulsion test” (which considers whether

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the State coerced or at least significantly encouraged the action alleged to violate the

Constitution), (2) the “public function test” (which asks whether the private party

performed a public function that was traditionally the exclusive prerogative of the

State), and (3) the “nexus/joint action test” (which considers whether the State so

far insinuated itself into a position of interdependence with the private party that it

was a joint participant in the enterprise). See Rayburn ex rel. Rayburn v. Hogue, 241

F.3d 1341, 1347 (11th Cir. 2001); Jain v. Myers, No. 20-11908, 2024 U.S. App.

LEXIS 217, at *7 (11th Cir. Jan. 4, 2024).

      State Compulsion Test. First, the complaint lacks any allegations that any

government actor coerced or encouraged the NCAA to violate Plaintiffs’ rights,

which provides the necessary basis to reject state compulsion as a ground for

satisfying the state action requirement here. See, e.g., McCoy v. Johnson, 176

F.R.D. 676, 680 (N.D. Ga. 1997) (rejecting state compulsion theory where plaintiff

made no allegations of any state compulsion on defendant); Smith v. Lifeline Animal

Project, Inc., No. 1:22-CV-2325-SEG, 2024 US Dist. LEXIS 55715, *12-13 (N.D.

Ga. Feb. 16, 2024).

      Public Function Test. Second, the complaint lacks the required allegations

that the NCAA, as a private actor, “perform[ed] functions that are traditionally the

exclusive prerogative of the state.” Langston v. ACT, 890 F.2d 380, 384 (11th

Cir. 1989); Harvey, 949 F.2d at 1131. The Supreme Court has held that few activities



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are “exclusively reserved to the states.” Flagg Bros., 436 U.S. at 158. The Court has

also held that, by fostering amateur athletics at the college level, the NCAA does not

perform a public function. See Tarkanian, 488 U.S. at 197 n.18 (“[W]hile we have

described that function as ‘critical,’ . . . by no means is it a traditional, let alone an

exclusive state function.” (internal citation omitted)); see also Perkins v.

Londonderry Basketball Club, 196 F.3d 13, 19 (1st Cir. 1999) (“The case law makes

pellucid that the administration of an amateur sports program lacks the element of

exclusivity and therefore is not a traditional public function.”); McHale v. Cornell

Univ., 620 F. Supp. 67, 70 (N.D.N.Y. 1985) (holding that the “[r]egulation of

intercollegiate sports cannot fairly be said to be traditionally and exclusively a state

function”); cf. San Francisco Arts & Athletics v. U.S. Olympic Comm., 483

U.S. 522, 545 (1987) (regulation of Olympic sports teams by a private organization

was not an exclusively public function).

      Joint Action Test. Third, the complaint lacks sufficient allegations of joint

action because it does not show with facts that Georgia has “so far insinuated itself

into a position of interdependence” with the NCAA that NCAA is “merely a

surrogate for the state.” Focus on the Fam., 344 F.3d at 1278-79. “To charge a

private party with a state action under [the nexus/joint action test], the governmental

body and private party must be intertwined in a symbiotic relationship.” Nat’l Broad.

Co. v. Commc’ns Workers of Am., 860 F.2d 1022, 1027 (11th Cir. 1988) (internal



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quotation marks and citation omitted). This “symbiotic relationship must involve the

alleged constitutional violation.” Id.

      Plaintiffs do not plead adequate facts to meet that test; instead, they merely

repeat the words of the test in a conclusory manner that “the above-identified

individuals and Georgia Tech and the University System of Georgia so far insinuated

themselves into a position of interdependence with the NCAA that these individuals

and entities may be recognized as joint participants in the challenged activities of

the NCAA.” Am. Compl. ¶ 740. Plaintiffs also merely recite a form of the word

“joint” in rote fashion without facts that “[the NCAA] and Georgia Tech jointly

altered the policies and practices of Georgia Tech” regarding athletic competition

and access to locker rooms. Am. Compl. ¶¶ 717, 718. Because Plaintiffs’ allegations

that the NCAA acted under color of law are entirely conclusory, they are insufficient

to establish state action here. Iqbal, 556 U.S. at 678.

      C.     No Other Allegations Are Sufficient to Allow a Section 1983
             Claim.

      Having failed to meet any of the three state-actor tests, Plaintiffs offer a few

other allegations to plead a Section 1983 claim against the NCAA, but those also fail

to establish state action. For example, the gist of the Complaint is that the NCAA

developed rules for athletic competitions. But State action does not exist merely

because a private party formulates rules and regulations later implemented by the

state. See Tarkanian, 488 U.S. at 194 (holding that a state actor’s voluntary decision

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to adopt a private association’s rules did not transform the private association’s rules

into state rules nor did it transform the private actor into a state actor); Lawline v.

Am. Bar Ass’n, 956 F.2d 1378, 1384-85 (7th Cir. 1992) (finding three bar

associations had not engaged in state action by formulating disciplinary rules in

question); Willis v. Ga. Dep’t of Juv. Just., No. 7:05-cv-59, 2007 U.S. Dist. LEXIS

70012, at *23-24 (M.D. Ga. Sept. 21, 2007) (comparing the case to Tarkanian and

noting “[i]n both cases, that states’ reliance on and adoption of a private party’s

actions are not sufficient to make that private party a state actor” and “[a]lthough

these state entities acted in compliance with private parties when they allegedly

violated the plaintiffs’ rights, that does not transform private parties’ actions into

actions of the state”).

      Plaintiffs also allege that the NCAA and Georgia Defendants adopted,

implemented, and enforced the NCAA Transgender Eligibility Policies in public

buildings on a public university campus. Compl. ¶ 741. But state action does not

exist merely because a state provides a forum to a private entity. Hill v. McClellan,

490 F.2d 859, 860 (5th Cir. 1974);4 see also Frazier v. Bd. of Trs. of Nw. Miss., 765

F.2d 1278, 1288 n.21 (5th Cir. 1985) (“[T]he sharing of [a] space [by government




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  Cases decided by the former Fifth Circuit before October 1, 1981, are binding
precedent in the Eleventh Circuit. See Bonner v. Prichard, 661 F.2d 1206 (11th
Cir. 1981).

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and private actors] is not alone sufficient in this case . . . .”), modified on other

grounds, 777 F.2d 329 (5th Cir. 1985), cert. denied, 476 U.S. 1142 (1986).

      And Plaintiffs also recite the phrase “[a]cting in concert,” perhaps implying a

conspiracy between the NCAA and state actors. Am. Compl. ¶¶ 719, 741, 752, 756;

see also Bendiburg v. Dempsey, 909 F.2d 463, 468 (11th Cir. 1990) (equating “act

in concert” with “a § 1983 conspiracy”). But that also is not enough. To establish a

prima facie case of Section 1983 conspiracy, a plaintiff must show, among other

things, that the defendants reached an understanding to violate his rights. Rowe v.

City of Fort Lauderdale, 279 F.3d 1271, 1283 (11th Cir. 2002). Moreover, Plaintiffs

may not rely on unsupported speculation and suspicions of a conspiracy but must

instead allege sufficient facts to show that a definite agreement was made. See

Fullman v. Graddick, 739 F.2d 553, 556-57 (11th Cir. 1984) (holding that a

conspiracy allegation that is vague and conclusory fails to state a claim upon which

relief can be granted and is subject to dismissal). In other words, “[i]t is insufficient

to ‘merely string together’ discrete events, without showing support for a reasoned

inference that the private and state actors agreed to violate the plaintiff’s rights.”

Benjamin v. Chemtall Inc., No. CV413-088, 2013 U.S. Dist. LEXIS 103014, at *3

(S.D. Ga. July 22, 2013) (quoting Harvey, 949 F.2d at 1133), R. & R. adopted, 2013

U.S. Dist. LEXIS 103016 (S.D. Ga. July 22, 2013). “[T]he linchpin for conspiracy




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is agreement, which presupposes communication . . . .” Bailey v. Bd. of Cnty.

Comm’rs of Alachua Cnty., Fla., 956 F.2d 1112, 1122 (11th Cir. 1992).

      Here, Plaintiffs do not allege any communication between the NCAA and any

government actors – in particular, between the NCAA and the State Defendants –

related to the adoption of the policies challenged in this lawsuit. Simply repeating

the legal test is insufficient to establish a conspiracy to violate their constitutional

rights. See Reed v. Strickland, No. 2:22-CV-437-MHT-KFP, 2023 U.S. Dist. LEXIS

100792, at *17 (M.D. Ala. June 9, 2023) (finding the plaintiff’s “ambiguous and

conclusory factual allegations” to be insufficient to nudge the plaintiff’s claim

forward as the allegations did not establish when an agreement may have been

formed or the substance of the agreement). Rather, the Plaintiffs’ claims are merely

naked assertions of an alleged “conspiracy” that lack the type of supportive operative

facts required to state a claim under Section 1983. See Phillips v. Mashburn, 746

F.2d 782, 785 (11th Cir. 1984). Accordingly, for this reason too, any Section 1983

claim against the NCAA fails, and the Court should dismiss Counts II, III, and IV

with prejudice. See Williams v. Brooks Trucking Co., 757 F. App’x 790, 795 (11th

Cir. 2018) (holding that a plaintiff’s Section 1983 claim was unsuccessful because

he did not sufficiently allege defendants acted under color of state law or conspired

with a state actor).




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III.   Plaintiffs Lack Standing to Prospectively Challenge the NCAA Policies

       Even if Plaintiff had successfully alleged either a Title IX or Section 1983

claim, Article III standing requirements would still necessitate limiting this case to

its obvious factual core: the grievances of Plaintiffs Countie, Gaines, Gyorgy, Alons,

Wheeler, and Swimmer A over Lia Thomas’s participation in the 2022 NCAA

Swimming and Diving Championships held in Georgia. Am. Compl. ¶¶ 413-604.

Four of the six counts explicitly relate “to the 2022 NCAA Division I Women’s

Swimming and Diving Championships,” and the Amended Complaint explicitly

limits those counts to “the six Plaintiffs who participated in the 2022 NCAA

Championships. Am. Compl. ¶ 682 (Count I), ¶ 711 (Count II), ¶ 726 (Count III),

and ¶ 744 (Count IV).

       Although the retrospective claims of those six Plaintiffs suffer from the fatal

problems described above, they do meet the Article III standing burden to allege an

injury that is “concrete, particularized, and actual or imminent; fairly traceable to the

challenged action; and redressable by a favorable ruling.” Clapper v. Amnesty Int’l,

USA, 568 U.S. 398, 409 (2013) (citation omitted). But the Court should dismiss the

claims of all Plaintiffs under Count V—challenging the current NCAA transgender




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athletic policies and seeking prospective injunctive relief—because no Plaintiff

presents sufficient allegations to establish Article III standing.5

      Standing “is the threshold question in every federal case, determining the

power of the court to entertain the suit.” Warth v. Seldin, 422 U.S. 490, 498 (1975).

Under Rule 12(b)(1), a district court should dismiss claims for lack of subject matter

jurisdiction when a plaintiff lacks standing. E.g., Hall v. Xanadu Mktg., Inc., 682 F.

Supp. 3d 1278 (N.D. Ga. 2023) (Cohen, J.). “The plaintiff bears the burden of

establishing standing as of the time she brought the lawsuit and maintaining it

thereafter.” Murthy v. Missouri, 219 L.Ed.2d 604, 617 (U.S. 2024) (internal

quotations, brackets and citation omitted). “[S]tanding is not dispensed in gross”;

each plaintiff must demonstrate standing for each form of relief sought. Davis v.

FEC, 554 U.S. 724, 734 (2008) (citation omitted).

      All Plaintiffs lack standing to challenge the current NCAA policies and to

seek injunctive relief as set forth in Count V because none meets her burden to allege

a future injury that is “concrete, particularized, and actual or imminent” in the sense

that it is “certainly impending.” Clapper, 568 U.S. at 409. Their “allegations of

possible future injury” are insufficient. Id. Each Plaintiff seeking prospective relief

fails to allege facts showing a “substantial likelihood” of “real,” “immediate,” and



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 Count VI alleges no claim against the NCAA but is explicitly limited to other
defendants.

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“definite” future injury. Mack v. USAA Cas. Ins. Co., 994 F.3d 1353, 1356-57 (11th

Cir. 2021) (the court could “easily dispense with the possibility” that a plaintiff who

“may someday be in another car accident” had standing to pursue prospective

declaratory relief). Thus, Plaintiffs do not meet the Eleventh Circuit’s “‘high

standard,’ which demands ‘a robust judicial role in assessing [the] risk’ of harm.”

Banks v. Sec’y, Dep’t of Health & Hum. Servs., 38 F.4th 86, 94-95 (11th Cir. 2022)

(citation omitted).

      This lawsuit presents grievances of the named Plaintiffs about the potential of

having to compete against transgender women or share locker rooms with them in

future collegiate championships. But no Plaintiff alleges a substantial likelihood that

she will compete against a transgender woman at any certainly impending time in

the future.

      The Amended Complaint explicitly limits Count V to “Plaintiffs who still

have remaining NCAA eligibility.” Am. Compl. ¶ 761. That excludes Plaintiffs

Gaines, Gyorgy, Alons, Countie, and Wheeler. See id. at ¶ 76. The Plaintiffs who

allegedly have remaining NCAA eligibility and thus are covered by Count V are

Eades, Erzen, Fox, Merryman, the Roanoke Swimmers, Track Athlete A, and

Swimmer A. Count V explicitly limits their claims to prospective relief. Id. at 777

(“preliminary and permanent injunctive relief”). Those remaining-eligibility

Plaintiffs collectively allege as a prospective injury only that they are “at increased



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risk of injury and/or being required to compete against and/or share locker rooms

and other women’s safe spaces with biological males.” Id. at ¶ 653; see also id.

at ¶ 644 (Plaintiffs “have reasonable concerns that due to the NCAA’s Transgender

Eligibility Policies they will be required to compete against biological males during

their NCAA careers.”).

      Those Plaintiffs’ allegations are insufficient to confer standing because they

suggest only that they might someday compete against a transgender woman without

specifying a particular event or a particular future date. Again, a mere possibility is

insufficient for standing. See Clapper, 568 U.S. at 409. Plaintiffs Erzen (soccer and

track), Eades (tennis), and Fox (swimmer) are Division I athletes who state only that

they are “aware” of transgender collegiate athletes and list four by name without

alleging that they are likely to compete against any of them. Am. Compl. ¶ 637.

Indeed, of the four athletes they identify, three were in different NCAA divisions,

and the other played a different sport than those three Plaintiffs. Id. at ¶¶ 638-643.

Track Athlete A alleges that she competed against a transgender woman at a single

past competition, (id. at ¶ 627), and then merely speculates that she may compete

against that athlete again in the future without alleging when that is likely to occur

or how doing so would affect her (id. at ¶¶ 628-632). Plaintiff Merryman alleges that

she played volleyball against a transgender athlete in high school and is “aware” that

high-school level transgender athletes are “seeking to be recruited to play on



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women’s’ college or university teams” that she does not identify. Id. at 633. Finally,

Swimmer A and the Roanoke Swim Team Plaintiffs offer no plaintiff-specific

allegations of future injury.6

                                        ***

      “[A] plaintiff seeking declaratory or injunctive relief must allege and

ultimately prove a real and immediate—as opposed to a merely hypothetical or

conjectural—threat of future injury.” Strickland v. Alexander, 772 F.3d 876, 883

(11th Cir. 2014) (internal quotation marks and citation omitted). The Eleventh

Circuit has instructed that “[o]pening the door of the federal courthouse to litigants

with such nebulous allegations of future harm would constitute an overreach of

federal equitable power” and has stated plainly that it refuses to allow courts “to

venture down that path.” Worthy v. Phenix City, 930 F.3d 1206, 1216 (11th

Cir. 2019). Because none of the Plaintiffs has alleged with specificity that she will

compete against a transgender woman athlete in a specific competition at a specific

future date, none of them is able to demonstrate the required definite future harm.




6
  The Roanoke Swimmers allege past injury because a single transgender woman
athlete asked to join their swim team in Fall 2023 and then later withdrew that
request before she participated on the team. Id. at ¶¶ 605-626. The Amended
Complaint does not seek past damages for the Roanoke group and does not seek any
request for prospective relief because another transgender woman might ask to join
their team.

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The Court should dismiss Plaintiffs’ prospective claims for injunctive and

declaratory relief. Mack, 994 F.3d at 1356-57.

IV.   The Court Should Dismiss the Fictitious-Party Pleadings Against
      John Does 1-25

      Finally, Plaintiffs cannot sustain any claim against Defendants John

Does 1-25 because those are improper fictitious defendants. “As a general matter,

fictitious-party pleading is not permitted in federal court,” which warrants dismissal

of such allegations. Richardson v. Johnson, 598 F.3d 734, 738 (11th Cir. 2010).

Although the court of appeals has recognized a limited exception when a plaintiff

gives exceptionally detailed description of the John Does, Plaintiffs’ here do not

meet that high standard to avoid the general rule. Id.

      The Amended Complaint describes “John Does 1-25” as “agents of the NCAA

who acting under color of law undertook the actions attributed to the NCAA in this

Complaint and are therefore liable for the constitutional and Title IX violations

described herein pursuant to 42 U.S.C. § 1983.” Am. Compl. ¶ 113. Plaintiffs refer

to “John Does 1-25” nine times in the 186-page Amended Complaint but never

provide a detailed description of “John Does 1-25.” For example, Plaintiffs provide

no details about their job titles and no details about the specific acts the individuals

participated in to warrant liability. Plaintiffs’ description of John Does 1-25 is thus

insufficient to meet the high standard of identifying the individuals, and, as in other

cases, requires dismissal of the Plaintiffs’ claims against John Does 1-25. See

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Johnson v. Ga. Bureau of Investigation, No. 1:23-cv-04218-LMM, 2024 U.S. Dist.

LEXIS 108345, at *20-21 (N.D. Ga. May 31, 2024) (granting motion to dismiss

claims against Defendant John Doe where Plaintiffs “assert[ed] general claims

against an unknown current or former employee with the Federal Bureau of

Investigation”); McPhail v. Ocean Carrington Green LLC, No. 1:22-CV-2879-CAP,

2023 U.S. Dist. LEXIS 170526, at *3 (N.D. Ga. Mar. 27, 2023) (dismissing claims

against the “John Doe Corporations, whose identities and whereabouts are currently

unknown”); Stephens v. Fulton Cnty., No. 1:16-cv-3461-RWS-JKL, 2017 U.S. Dist.

LEXIS 233438, at *17 (N.D. Ga. July 7, 2017) (dismissing claims against John Doe

Defendants due to insufficient identifying allegations).

V.    Conclusion

      Plaintiffs filed the Amended Complaint in an apparent effort to fix the

deficiencies that rendered their initial Complaint subject to dismissal. The Amended

Complaint failed to do so, however, and fails to set forth valid causes of action

against the NCAA or against the unidentified fictitious Joe Doe defendants. For that

reason, the Motion to Dismiss should be granted and the Amended Complaint should

be dismissed with prejudice against the NCAA and Joe Does 1-25.

      Respectfully submitted this 24th day of July 2024.

                                       ALSTON & BIRD LLP

                                       /s/ Cari K. Dawson


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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, I hereby certify that this brief has been prepared

in Times New Roman, 14-point font, one of the font and point selections approved

by this Court in Local Rule 5.1C.

                                      /s/ Christopher C. Marquardt
                                       Christopher C. Marquardt




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I caused the foregoing to be electronically

filed with the Clerk of Court using the CM/ECF system, which will send

notification of the filing to all counsel of record.

      This 24th day of July 2024.

                                        /s/ Cari K. Dawson
                                        Cark K. Dawson
